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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

MMR CONSTRUCTORS, INC.,                             :   CIV. NO. 22-267
                                                    :
        Plaintiff,                                  :
                                                    :
VERSUS                                              :   JUDGE BRIAN A. JACKSON
                                                    :
JB GROUP OF LA, LLC D/B/A                           :
INFRASTRUCTURE SOLUTIONS                            :
GROUP and DAVID HEROMAN.                            :   MAGISTRATE JUDGE RICHARD L.
                                                    :   BOURGEOIS, JR.
        Defendants.


                  RESPONSES TO ISG’S SECOND SET OF REQUESTS FOR
               PRODUCTION OF DOCUMENTS TO MMR CONSTRUCTORS, INC

        NOW INTO COURT, through undersigned counsel, comes Plaintiff MMR Constructors,

Inc. (“MMR”), which in response to Defendant, JB Group of LA, LLC d/b/a Infrastructure

Solutions Group’s Second Set of Requests for Production of Documents, respectfully submits the

following:

REQUEST FOR PRODUCTION NO. 1:

        Provide a copy of all Documents reflecting, concerning, or relating to communications
between Matt Welborn and Jason Yates referencing, concerning, or relating to ISG (including,
but not limited to, communications in or about early 2021 relating to the contract from
Jefferson Parish to ISG for the Causeway Lighting Project and contract from Boone
Construction to ISG for the Baton Rouge Airport Lighting Project).

        RESPONSE TO REQUEST NO. 1:

        MMR objects to this request because it is overbroad and because—apart from the

parenthetical contained therein—it fails to identify the documents sought with reasonable

particularity. MMR further objects to this request as requiring time and effort to respond that is

not proportional to the needs of the case, particularly because Mr. Yates himself (and thus ISG)

is in possession of any responsive communications. Subject to and without waiving this

objection, MMR will search for communications between Mr. Yates and Mr. Welborn

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concerning ISG’s involvement in the two referenced projects and will produce (if located)

responsive documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 2:

     Provide a copy of all other Documents reflecting, concerning, or relating to
 communications between MMR and Jason Yates referencing, concerning, or relating to ISG.

        RESPONSE TO REQUEST NO. 2:

        MMR objects to this request because it is overbroad and fails to identify the documents

sought with reasonable particularity. MMR further objects to this request as requiring time and

effort to respond that is not proportional to the needs of the case: Mr. Yates himself (and thus

ISG) is in possession of any responsive communications, and ISG fails to identify the

employees at MMR — a company that has close to 5,000 employees — who may have had

such communications with Mr. Yates.

        MMR is withholding a search for responsive documents pending a meet and confer with

ISG’s counsel to discuss reasonable limitations.

REQUEST FOR PRODUCTION NO. 3:

       Provide a copy of all Documents reflecting, concerning, or relation to communications
within or involving MMR referencing, concerning, or relating to ISG prior to the
commencement of this lawsuit.

        RESPONSE TO REQUEST NO. 3:

        MMR objects to this request because it is confusing as written. MMR further objects to

this request because it is overbroad and because it fails to identify the documents sought with

reasonable particularity, instead asking for any and all Documents ever created that and that

relate to two of the parties in this lawsuit, no matter how tangential to the claims and defenses at

issue. MMR further objects to this request as requiring time and effort to respond that is not

proportional to the needs of the case, particularly considering MMR currently has close to 5,000

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employees and searching all of their communications to determine whether they ever referenced

ISG prior to the initiation of this lawsuit would be impracticable if not impossible. MMR further

objects to this request to the extent it covers documents protected by the attorney-client privilege

and/or work product doctrine.

        MMR is withholding a search for responsive documents pending a meet and confer with

ISG’s counsel to discuss reasonable limitations.

        REQUEST FOR PRODUCTION NO. 4:

       Provide a copy of all Documents that originated from or were authored by Industrial
Specialty Contractors (a/k/a ISC) including, but not limited to, any greensheets or overhead and
top sheets.

        RESPONSE TO REQUEST NO. 4:

        MMR objects to this request because it is not proportional to the needs of the case. MMR

is a company with nearly 5,000 employees, ISC is not a party to this case, and there have been no

allegations relating to ISC or any document that purportedly originated from ISC. Further, ISC

does not contend that MMR is improperly in possession of any document that originated from

ISC. Finally, there is no time limitation on this request, which, on its face, would cover over a

thirty-year period (MMR pre-dated ISC, which began its business over thirty years ago).

Accordingly, this request would require MMR to expend significant resources searching for

documents that (even if located) would offer no probative value to the claims and defenses in this

case.

        MMR is withholding a search based on these objections.

REQUEST FOR PRODUCTION NO. 5:

       Provide a copy of all Documents referencing, concerning, or relating to National
Electrical Contractors Association (“NECA”) unit rates and/or NECA labor rates.




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        RESPONSE TO REQUEST NO. 5:

        MMR objects to this request because it is overbroad, including in temporal scope, and

because it fails to identify the documents sought with reasonable particularity and instead asks

for any and all Documents that have ever mentioned NECA rates, no matter how tangential to

the claims and defenses at issue in the above-captioned lawsuit. MMR further objects to this

request as requiring time and effort to respond that is not proportional to the needs of the case.

MMR currently has nearly 5,000 employees and has had several thousand employees since it

began. The burden for MMR to search through repositories relating to thousands of potential

custodians, without any date limitation, outweighs the probative value of discovering documents

that reference a trade association’s rates.

        MMR is withholding a search based on these objections.

REQUEST FOR PRODUCTION NO. 6:

        Provide a copy of any and all evidence, forensics, or otherwise that supports or relates
 to Your allegation that Travis Dardenne transferred, used, or accessed any MMR Document
 related to Your allegations in the Lawsuit.

        RESPONSE TO REQUEST NO. 6:

        MMR has identified the MMR documents that have been located through the forensic

inspections of the devices and accounts associated with Mr. Dardenne. MMR refers ISG to those

documents, as well as the forensic reports from those devices and accounts. Further, discovery is

ongoing, and MMR will supplement this response to the extent that further responsive evidence

is discovered.

REQUEST FOR PRODUCTION NO. 7:

      Provide a copy of any and all evidence, forensics, or otherwise that supports or relates to
your allegation that Jason Yates transferred, used, or accessed any MMR Document related to
Your allegations in the Lawsuit.



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        RESPONSE TO REQUEST NO. 7:

        MMR has identified the MMR documents that have been located through the forensic

inspections of the devices and accounts associated with Mr. Yates. MMR refers ISG to those

documents, as well as the forensic reports from those devices and accounts. Further, discovery

is ongoing, and MMR will supplement this response to the extent that further responsive

evidence is discovered.

REQUEST FOR PRODUCTION NO. 8:

        Provide a copy of any and all evidence, forensics, or otherwise that supports or relates
to your allegation that Michael Lowe transferred, used, or accessed any MMR Document
related to Your allegations in the Lawsuit.

        RESPONSE TO REQUEST NO. 8:

        MMR has identified the MMR documents that have been located through the forensic

inspections of the devices and accounts associated with Mr. Lowe. MMR refers ISG to those

documents, as well as the forensic reports from those devices and accounts. Further, discovery

is ongoing, and MMR will supplement this response to the extent that further responsive

evidence is discovered.

REQUEST FOR PRODUCTION NO. 9:

        Provide a copy of any and all evidence, forensics, or otherwise that supports or relates

to your allegation that Walter (Benjamin) Huffman transferred, used, or accessed any MMR

Document related to Your allegations in the Lawsuit.

        RESPONSE TO REQUEST NO. 9:

        In the Complaint, Amended Complaint, and Second Amended Complaint, MMR did not

allege that Mr. Huffman “transferred, used, or accessed any MMR Document”; however, Mr.

Huffman admitted during his deposition that he had, in fact, transferred, used, and accessed



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MMR documents as an ISG employee. MMR is awaiting forensic examinations of Mr.

Huffman’s devices and accounts, at which point MMR will likely seek leave to amend its

complaint to assert allegations relating to Mr. Huffman’s misappropriation of MMR

documents. Pursuant to the Parties’ agreed forensic protocol, MMR will identify MMR

documents in Mr. Huffman’s possession, custody, and control when forensics are run on his

devices and accounts. Until then, this Request is premature.

REQUEST FOR PRODUCTION NO. 10:

       Provide a copy of any and all evidence, forensics, or otherwise that supports or relates
to your allegation that Travis Dardenne intentionally removed MMR confidential business
information and/or trade secrets and provided it to ISG.

        RESPONSE TO REQUEST NO. 10:

        MMR objects to Request No. 10 as duplicative and incorporates by reference its response

to Request for Production No. 6.

REQUEST FOR PRODUCTION NO. 11:

       Provide a copy of any and all evidence, forensics, or otherwise that supports or relates
to your allegation that Jason Yates intentionally removed MMR confidential business
information and/or trade secrets and provided it to ISG.

        RESPONSE TO REQUEST NO. 11:

        MMR objects to request No. 11 as duplicative and incorporates by reference its response

to Request for Production No. 7.

REQUEST FOR PRODUCTION NO. 12:

       Provide a copy of any and all evidence, forensics, or otherwise that supports or relates
to your allegation that Michael Lowe intentionally removed MMR confidential business
information and/or trade secrets and provided it to ISG.




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        RESPONSE TO REQUEST NO. 12:

         MMR objects to Request No. 12 as duplicative and incorporates by reference its

response to Request for Production No. 8.

REQUEST FOR PRODUCTION NO. 13:

       Provide a copy of any and all evidence, forensics, or otherwise that supports or relates
to your allegation that Walter (Benjamin) Huffman intentionally removed MMR confidential
business information and/or trade secrets and provided it to ISG.

        RESPONSE TO REQUEST NO. 13:

        MMR objects to Request No. 13 as duplicative and incorporates by reference its

response to Request for Production No. 9.

REQUEST FOR PRODUCTION NO. 14:

        Provide a copy of all Documents reflecting or relating to the disclosure outside of MMR
of any overhead and top sheets, labor and material sheets, estimates, change logs, job analyses,
contracts, change orders, s-curves, timekeeping documents, Quality Assurance/Quality Control
manuals, employee handbooks, safety manuals, and/or customer proposals from the date when
any of the Defendants commenced employment with MMR, through the present.

        RESPONSE TO REQUEST NO. 14:

        MMR objects to this request for the same reasons that it objected to Amended

Interrogatory Nos. 5-10. This request, though, is even broader and is not specifically tied to the

documents that MMR has identified as its trade secrets and confidential business information.

MMR explained when the broad categories of documents included in this request would be

shared (if ever) within the context of a confidential business relationship. But this request

would require MMR to produce every “contract,” “estimate,” “customer proposal,” and

“change order” that it ever provided to a customer since its inception in 1991. The expense and

burden to undertake such a search to locate “all” responsive documents far outweighs the




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probative value associated with the documents that ISG and the other named defendants have

misappropriated in this case.

        MMR is withholding a search for responsive documents based on these objections.

REQUEST FOR PRODUCTION NO. 15:

       Provide a copy of the form of the following documents used by MMR (a) at the time of
Jason Yates’ departure from MMR, (b) at the time of David Heroman’s and Kasey Kraft’s
departure from MMR, and (c) currently of each of the following: greensheets, overhead and
top sheets, labor and material sheets, estimates, change logs, job analyses, contracts, change
orders, s-curves, timekeeping documents, Quality Assurance/Quality Control manuals,
employee handbooks, safety manuals, and customer proposals.

        RESPONSE TO REQUEST NO. 15:

        MMR objects to the extent that there are “forms” for each of the categories of documents

listed in this request, including “estimates,” “change logs,” “contracts,” “s-curves,” “time-

keeping documents, “Quality Assurance/Quality Control manuals,” “safety manuals,” and

“customer proposals.” Further, ISG is already in possession of examples from each document

category listed in this request from the time period(s) that this request covers, and MMR has

identified those documents in response to ISG’s interrogatories. The following terms, moreover,

lack specificity and are thus so vague as to be disproportional to the needs of the case:

“estimates,” “time-keeping documents,” “contracts,” and “change orders.” Finally, what MMR

is currently using is not relevant to this case.

        Subject to and without waiving these objections, MMR refers ISG to the greensheets,

overhead top sheets, job analyses, customer proposals, commercial terms, and safety-related

manuals and documents that MMR identified as its protected information. Further, ISG has

produced the employee handbooks that Mr. Yates, Mr. Kraft, and Mr. Heroman were subject to.

If, however, ISG needs further “examples” from these categories of documents that MMR used




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at the time Messrs. Yates, Kraft, and Heroman departed, MMR is willing to meet and confer

about what other examples ISG believes it needs.

REQUEST FOR PRODUCTION NO. 16:

       Provide a copy of all confidentiality agreements covering the disclosure reflected or
addressed in the Documents responsive to the immediately preceding Request for Production.

        RESPONSE TO REQUEST NO. 16:

        MMR objects to this Request as not proportional to the needs of the case to the extent it

requests a copy of all employee agreements (which would be thousands) that restrict the use,

disclosure, and retention of MMR’s business information. Subject to and without waiving this

objection, MMR refers ISG to the previously produced confidentiality agreements that the

individual defendants signed during their employment with MMR and that restricted the use,

disclosure, and retention of the documents that ISG requests in Request for Production No. 15.

        MMR is withholding documents based on this objection.

REQUEST FOR PRODUCTION NO. 17:

       Provide a copy of each Document on which you relied in drafting or referenced in your
responses to the Amended First Set of Interrogatories in this Lawsuit.

        RESPONSE TO REQUEST NO. 17:

        MMR objects to this request to the extent it seeks the disclosure of post-lawsuit

communications that are protected by attorney-client privilege and/or the attorney work product

doctrine. Subject to and without waiving this objection, MMR refers ISG to the documents

identified in the answers to the Amended First Set of Interrogatories.

REQUEST FOR PRODUCTION NO. 18:

        Provide a copy of all Documents reflecting, concerning, or relating to any bids or
projects you lost to ISG.




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        RESPONSE TO REQUEST NO. 18:

        MMR refers ISG to the documents that MMR has identified as its misappropriated trade

secrets and confidential business information demonstrating the use of information

misappropriated from MMR. All value and profits that ISG obtained from winning bids after the

use of the misappropriated information is ill-gotten and, in essence, was “lost.” ISG, however,

has not identified all the projects that it has “won,” but based on the forensic evidence, ISG used

MMR’s information to win projects at, for instance, Shintech and Lubrizol. MMR refers ISG to

those identified documents that demonstrate ISG used and/or is using MMR information and

then won projects and work from those customers. Discovery on this issue remains ongoing, and

MMR will supplement this response as it continues to discover responsive information.



                                             Respectfully submitted:

                                             /s/ P.J. Kee
                                             P.J. KEE (La. Bar No. 34860)
                                             THOMAS P. HUBERT (La. Bar No. 19625)
                                             JACOB J. PRITT (La. Bar No. 38872)
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all counsel of record by email
on June 5, 2023.

                                                       /s/ P.J. Kee
                                                       P.J. Kee




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